Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 1 of 13




              EXHIBIT C
Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 2 of 13




 0              GE
                P1astc




                                      Executive Summary:


 GB Plastics is a leading lobal manufacturer and distributor of plastics resins and plastics
 used in a number of key industries including automotive, computers, telecommunications
 appliances, optical medi , packaging, and building and construction. GE Plastics manufa
 and compounds polycarl onate, ABS, SAN, ASA, PPE, PC/ABS, PBT and PEI resins.

 GB Plastics is among thè largest producers of high-performance polymers used by electrc
 office equipment, compiter, and automotive manufacturers. The division includes the op
 of GE Polymerland, an n1ine resin distributor; Specialty Film & Sheet, which makes the
 polycarbonate sheet and film called Lexan; GB Polymershapes, a plastic film, sheet, and 1
 distributor; and GE Res ns, a producer of all manner of plastic resins. It also owns
 Engineering Plastics, a plastics compounding firm. In 2007 GB sold the unit to Saudi Ara
 largest public company, SABIC, for $11 billion.

GB Plastics Global headquarters is located in Pittsfield, Massachusetts, USA. Since 1969,
company's European hekdquarters have been located in Bergen op Zoom, the Netherland,"
Employing more than 3000 people across Europe, GE Plastics now has sales and service
across Western Europe, Eastem Europe, Scandinavia and Russia. The GEP Pacific Headc
are in Shanghai, China. The company was founded in 1930 and has 2006 revenues of$6.
GEP employs approximately 11,000 employees in over 60 worldwide locations.

Products:

Lexan Resin:

Polycarbonate (PC)        in automotive headlamps, medical devices, mobile phones,             and
DVD's.

Noryl Resin:

Modified polyphenylenè ether and high impact polystyrene used in Eco-friendly wire
electronic components, 4nd fluid handling instruments.

Ultem Resin:

Polyetherimide (PEI)i      for extreme high heat and chemical resistance in firefighter
circuit boards, and the    space industry.

Valox Resin:

Polybutylene Terephthlate (PBT) used for Eco-friendly manufacturing (recycled water bbttles),
automotive under the hood parts.
 Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 3 of 13




  Xenoy Resin:

  PBT and PC- Chemical             impact resistance for Eco-friendly manufacturing (recycled
  bottles), transportation F       panels and bumpers.

  Cycolac/Geloy Resins:

  Acroylonitrile Butadien Styrene/Acrylic Styrene Acrylonitrile (ABS/ASA) used for the
  automotive, toys, buildi and construction industries.

  Cycoloy Resin:

 PC and ABS- Automoti'% instrument panels, computer monitor enclosures, mobile



                                           Industry Application:


 Automotive

 GE's high-performance        :hermoplastics have facilitated the evolution of the modem auton )bile.
 Compared to traditional      metals, our engineered materials have contributed to enhanced
 silhouettes, aesthetics, s    curity, and manufacturability, as well as better performance on road,
 in the driver's seat, and    .t the pump. The depth and breadth of GE's resources create bene    for
 nearly everyone in the a     itomotive industry: designers, suppliers, OEMs, and, ultimately,
 consumers.

Bath and Spa


Our Geloy* resins can          Lër unique color and aesthetic solutions to bath and spa liners all
virtually eliminating cb       ling, fading, or cracking, and offering UV and chemical resistar
under these tough cond         ms. Also, unlike traditional ASA resin solutions, Geloy resin ca
maintain its beauty and        rength up to three to five times longer, and allows for easier reps   of
the spa and hot tub she]       if they are damaged. For pumps and other components, GE's X'
resins present a high-pe        nnance solution.




GE Plastics offers a brotd portfolio of sheet and film products for building and constructi
Many, like our Lexan* olyc&bonate structural sheet, are designed for rapid construction And
performance - as with tl1ie virtually unbreakable Lexan* sheet - has often been the reason
architects and builders qhoose our products.
 Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 4 of 13




  Electronics

  Our broad portfolio of       h-performance materials and our expertise have contributed to ti
  development of many         rent portable electronic device designs, and we continue to creat
  solutions for critical fu   tionality in this segment - from thermal management to shielding
  Combining excellent n       ;hanical properties and versatile colorability, GE's thermoplastic
  technology can help m         products more durable and reliant, lighter, and visually unique.

  Healthcare

 In addition to applicati     development specialists and customer support teams, GE maii            a
 dedicated Healthcare t       1 totrack global advances and emerging industry trends. This
 creates solutions that 1      you meet today's challenges and prepare for the applications
 regulatory needs of tol      row. We offer materials solutions for areas ranging from steri
 trays and advanced hoi       igs materials, to endoscopic surgical instruments and blood fil      -- and
 nearly everything in b        en. Health professionals, patients, and lab workers alike may
 from the materials and       Dwledge that GE - Plastics offers.

 Packaging

 Packaging can benefit fIiom our high-performance polymers, including Noryl* , Lexan*,
 Cycoloy*, and Ultem* iesins, and LNP* specialty compounds. Each is unique, offering it own
 exceptional properties. 1rom conductivity to extreme heat resistance, GE's materials offer
 solutions right for you.f keeping computer chips safe and serving foods in take out contaners
 seem unrelated, they ar -- and that is why GE-Plastics offers such a wide variety of solutions

 Security

GE Plastics offers a broid portfolio of sheet and film products for building and constructión.
Many, like our Lexan* jolycarbonate structural sheet, are designed for rapid construction ! And
performance - as with tie virtually unbreakable Lexan* sheet - has often been the reason
architects and builders qhoose our products.

Sign and Display

Offering design freedoii, ease of production, and long life, GE Plastics products for
production include Lex4n* and Lexan Margard* polycarbonates. Extra-weather and
grades are available, as ire surfaces designed to withstand abrasion and breakage.

Storm Protection

Today, GE Plastics off *s a broad portfolio of sheet and glazing products that are widely     in
the building and constnction markets. GB's virtually unbreakable and beautifully clear 1
sheet features light weight, high stiffness, impact and fire resistance and weatherability.'
high-technology sheet product with highly specialized properties is an excellent candidal to help
home owners and buildfrs protect their families and property during storms.
Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 5 of 13




 Textiles

Fibers made from GE's Item*, Valox*, Noryl*, and Lexan* resins, in combination with other
fibers, can help address variety of needs and concerns in everything from flame retardant
mattresses and airplane ats, to industrial filters and military apparel. In woven, non-woven, and
loose-fill applications, t addition of our materials might be just the solution you are looking for
to meet requirements w. tout sacrificing performance, comfort, or aesthetics.

                            or Vehicles

When it comes to goals      ke lower weight and VOC emissions, increased design flexibility and
aesthetics, GE - Plastics   riay offer an excellent material solution. Our goal is to help customers
solve their tough challei   es throughout the industry with our advanced material solutions.! GE is
constantly striving to re   arch and design materials to meet the challenges of today and th 6i future.
        Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 6 of 13


     General Eléctric Plastics
     4Lutomobih Liability
     iugust 1, 2007 to Auusi           1.2008




      eneral Electric Plastics
      Plastics Avenue
      [ttsfield, MA01201

      DLICY PERIOD:

      )licy Effecti''e: 8/1/07           Policy Expiration: 8/1/08


                                                                     Limit                              Symbol
  ombined Single Limit                                               3,000,000                          (1)
  ersona1 Injury Protection (No Fault)                               Min. Required by Law               (5)
  uto Medical Payments                                               $ 10,000 Per Person                (3)
 JninsuredfIJn1erinsured Motorists CSL                               Min. Required by Law               (6)

      overedAuto!Symbols:
     1) Any Auto j
     3) Owned Private Passenger Autos Only
     5) All Owned, Autos which require No-Fault Coverage
     6) All Owned Autos Subject to a Compulsory Uninsured Motorists Law


                       8250,000
                     Adjustment Expense erodes the deductible.
                     Adjustment Expenses in addition to limits.



       Blanket          age for all owned, leased, nonowned and hired; Covered Auto Symbol "1"
                       derinsured Motorists Coverage Symbol 6 - (reject where applicable or minimum statutory limits)
       (Ohio U1        VI is not offered)
       Personal        y Protection Symbol "5"
       Auto Me         Payments - $10,000
       MCS-90
 • Addition1 Insured - lessor (CA200 1)
7.     Unintentional Errors and Omissions - included m policy form
8.     EmpIoyes as Insureds (CA9933)
9.     Hired Autos Specified as Covered Autos you own (CA99 16)
10. It is agred that the Fellow Employee Exclusion is deleted in its entirety from Se       )fl 11(64007)
11. Transfer bfRights of Recovery against others to us as required by contract - AIG        ording (62897)
                 i
12. Drive-Otier-Car Coverage. a) Covering all employees to whom an owned vehic              is regularly assigned and
    spouses b) Limits of Liability, TJMJUIM, medical payments to match owned ve              1e coverage (CA99 10)
13. Addition1 Insured - where required under contract or agreement (61713)
14. Employee Hired Auto (CA 20 54)


                                                                                                    1
             Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 7 of 13
     I/3/LUU( Iu:ij ,-IvJ



                                                            Crib Sheet - Primary Casualty
      Account Name:                     SAlllC1Engineered Plastics
      SIC Code:                         2820 - Iastic Materials and Synthetics
      Policy Period:                    8/1/2007 rro 8/1/2008

  1 Name of Insured andlnsuredAddres
            SABIC Engineered Plastics
            1 Plastics Avenue
            Pittsfield, MA 01201
            USA

  2 Program Inception Date              8/1/2007                          Proposed Quote Date (Primary)                   7/19/2007


  3 Description 0!Insured's Operations 4 Business Segment
           Sabic Engineered Plastics is a 1eadiig global manufacturer and distributor of plastics resins and plastics shapes used in a number of key
           industries including automotive, computers, telecommunications, appliances, optical media, packaging, and building and construction. SAL
           Plastics manufactures and compoun1s polycarbonate, ABS, SAN, ASA, PPE, PC/ABS, PBT and PEI resins. The company has a global foot
           of 60+ locations and approximately 11,000 employees worldwide.

 4 Insured's Website address          http:ll      .geulastics.oni/gep/en/Home/Home/home.htm1

 5 Noteworthy Items
           GE Plastics is a business unit of GE1 which is being acquired by SABIC (Saudi Basic Industries Corporation). SABIC will implement a new
           insurance program for GE Plastics tpon the closing of the sale, which is expecting to close around 8/1/07.




 6 Change in Exposures Since Last                    (Total USA) (This is thefirstyear of stand alone SABlCEngineered P1asicsprogram)
                                                                   2            3              4                5                6
                                                                                                                             Watercrafl
                                                             Payroll      No. Employees Vehicle Count Aircraft Count          Count
                                      (in            )   (in Thousands)                                                                1
             1 Projected
            2 PriorYr
            3 Change
            4 %Change


 7   Vehicle Fleet (Including                         Total USA)
                                                            Prior Yr       % Change
                                                                           SinceLast
                                                                Vehicle     Renewal
               1 Private Passenger
               2 Light Trucks
               3 Medium Trucks
               4 Heavy Trucks
               5 Extra Heavy Trucks
               6 Tractors
               7 Buses
               8 Other
             Total Vehicles


8 Total Losses by Type of Coverage

                                                                                           Products
                                                                                          Liability/
                                                          Automobile        General       Completed        Workers'         Employer
          No      Policy Inception                         Liability        Liability     Operations     Compensation        Liability




9 Largest Five Losses Listed

Casualty Submission Model                                                                                                                              SH
         Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 8 of 13




Casualty Submission Model
      Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 9 of 13
General Electric Plastics
General Liability
August 1, 2007 to August 1, 2008


NAMED INSURED AND ADDRESS (TBD):
General Electric Plastics
1 Plastics Avenue
Pittsfield, MA 01201


POLICY PERIOD:

Policy Effective: 8/1/07            Policy Expiration: 8/1/08

Time: 12:01 AM, local standard time at the address of the first Named Insured.

COVERAGES/LIMITS:
General Aggregate Limit (other than Products/Completed Ops)            $10,000,000
Products/Completed Operations Aggregate Limit                          $ 5,000,000
Personal & Advertising Injury Limit                                    $ 5,000,000
Each Occurrence Limit (BI & PD CSL)                                    $ 5,000,000
Fire Damage Limit (Any One Fire)                                       $    50,000
Medical Expense Limit                                                  $      10,000
Employee Benefits Liability - Claims Made (Bach Employee/Agg.)         $ 2,000,000/4,000,000

Deductible:
General Liability                                                      $ 250,000 per occurrence
Allocated Loss Adjustment Expense erodes the deductible.
Allocated Loss Adjustment Expenses in addition to limits.

Products/Completed Operations Deductible:                              $ 1,000,000 per occurrence
Allocated loss expense to be 100% paid by GEP
Allocated Loss Expenses in addition to limits.


COVERAGE EXTENSIONS


1. Broad Form Named Insured: Named Insured means the person or organization first named as the Named
   Insured on the Declarations Page of this policy (the "First Named Insured"). Named Insured also includes (1)
   any other person or organization named as a Named Insured on the Declarations Page; (2) any subsidiary,
   associated, affiliated, allied or acquired company or corporation (including subsidiaries thereof) of which any
   insured named as the Named Insured 011 the Declarations Page has more than 50% ownership interest in or
   exercises management or financial control over
2.   Unintentional Errors and Omissions Endorsement (62132)
3.   Additional Insured Where Required by Contract or Agreement (61712)
4.   Waiver of Transfer of Rights/Subrogation Against Others to Us Where Required by Contract (CG2404)
5.   Other Insurance - This insurance to be excess except where required by contract to be primary (67265, as
     expiring)
6.   Policy to be amended under Section 11 - Who Is an Insured to provide Fellow Employee Coverage by deleting
     2(a)1 and 3.a. (64007) and to include coverage for injury to a volunteer worker
     Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 10 of 13
General Electric Plastics
General Liability
August 1, 2007 to August 1, 2008

7.   Amendatory Endorsement - Clubs; Who Is an Insured amended to include any association, club or organization
     formed by or for your employees, and your employees who are members thereof, provided such entity is formed
     for or by your employees for social or recreational purposes with your knowledge and consent. (as expiring) -
     74439
8. Joint Ventures - Insured covered to the extent of their liability arising out of the operations of any joint venture
   (62254)
9.   Fire Legal Liability expanded to include smoke/ explosion/ water damage (FIRE.doc, as expiring) (61945)
     Water condition due to the discharge, leakage or overflow of water of steam from plumbing, heating,
     refrigerating or air-conditioning systems, standpipe for fire hoses, or industrial or domestic appliances, or any
     substance from an automatic sprinkler system or the collapse or fall of tanks of the component parts or supports
     thereof which form a part of an automatic sprinkler system (hereinafter water condition. To premises while
     rented to you or temporarily occupied by you with permission of the owner.
10. Coverage Territory - All parts of the world if claim is made or suit is brought in the United States (including its
    territories and possessions) or Puerto Rico
11. Contractual Liability - Railroads (CG24 17, as expiring)
12. Newly Acquired or Formed Entities - Automatic coverage with 90-day reporting requirement (67266, as
    expiring)
13. Liberalization Clause (71705, as expiring)
14. Incidental Medical Malpractice (65157)
15. Employee Benefits Liability Insurance Endorsement -     110 retroactive   date
16. Bodily Injury Definition Extension (Endt. #4). "Bodily Injury" means physical injury, sickness or disease,
    including death resulting from any of these; of the following when accompanied by physical injury, sickness or
    disease: mental anguish; shock; or emotional distress.
17. Personal Injury Definition Extension (74447) "Personal injury and advertising injury" means injury, including
    consequential "bodily injury", humiliation, mental anguish or shock, arising out of one or more of the following
    offenses: a. False arrest, detention or imprisonment; b. malicious prosecution; c. the wrongful eviction from,
    wrongful entry into, or invasion of the right of private occupancy of room, dwelling or premises that a person
    occupies by or on behalf of its owner, landlord or lessor; d. oral or written publication of material, in any
    manner, that slanders or libels a person or organization or disparages a person's or organization's goods,
    products or services; e. oral or written publication, in any manner of material that violates a person's right of
    privacy; f. the use of another's advertising idea in your "advertisement"; or g. infringing upon another's
    copyright, trade dress or slogan in your "advertisement".
18. Amendment Non-Owned Watercraft Exclusion to 51 ft. or less. (64010)
19. Amendment of Liquor Liability Exclusion - Exception for all Activities of the Insured.
20. Stop Gap Employers Liability in Puerto Rico - If any Exposure.
21. Section 1, Coverage B, 2, Exclusions - Delete Exclusion for Contractual Assumption of Liability (65329, as
    expiring).
22. Named Peril Time Element Exclusion- 20/80 days
     Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 11 of 13
General Electric Plastics
General Liability
August 1, 2007 to August 1, 2008




AMENDMENT OF CONDITIONS
1. Notice of Cancellation 90 Days except for non-payment of premium which is 10 days.
2.   Notice of Non-Renewal 90 days
3.   Knowledge of Occurrence by the Risk Manager - Amendment of Duties in the Event of an accident, claim, suit
     or loss (61707, as expiring)
  Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 12 of 13
General Electric P1astic
Workers Compensation Employer's Liability
Auffust 1.2007 to Auu 1. 2008



General Electric Plastics.
I Plastics Avenue
Pittsfield, MA 01201

Policy Period:

Policy Effective: 8/1/07            Expiration: 8/1/08

Time: 12:01 AM, locals              time at the address of the first Named Insured

Coverages / Limits
Workers' Compensation:                       Statutory
Employers' Liability:                        $2,000,000         Bodily Injury by Accident each accident
                                             $5,000,000         Bodily Injury by Disease policy limit
                                             $2,000,000         Bodily Injury by Disease each employee

Other States Insurance to           all states except monopolistic states and those listed in item 3.A.
(Includes Allocated Loss            lent Expense.)

Deductible:                  $25

Allocated Loss Adjustment              erodes the deductible.
Allocated Loss Expenses in             to limits.



1. Voluntary Compensation Employers' Liability Coverage Endorsement. Designated State of Hire benefits for
   all officers and employees not subject to the Workers' Compensation laws except master or members of the
   crew of a vessel. Not available in New Jersey and Wisconsin (WC 000311A)
2. Voluntary Compensation ]'Iaritime Endorsement - All activities subject to this coverage. State of Hire benefits;
   All vessels (WC000203)
3. Outer Continental Shelf Operations (WC 0001 09A)
4. Longshoremen's and H        Workers' Compensation Act - Work in all jurisdictions subject to the Act
   (WC 000106A)
5. Federal Employers' Lia          y Act (FELA) if any basis; $2,000,000 (WC 000104)
6. Waiver of Subrogation           orsement where required by contract or agreement. Where allowed (WC0003 13)
7. Maritime Coverage E             ament, including In Rem wording and including Transportation, wages, maintenance
   and cure. $2,000,000            accident/$5,000,000 aggregate (WC 000201A)
8. Alternate Employer        ement (if any basis except schedule required in CA) (WC 000301A)
9. Foreign Voluntary Compnsation - For all employees temporarily outside the United States; including endemic
   disease and $2,000,000 a9y one employee/$5,000,000 Policy Limit $100,000 repatriation expense (60904)
10. Stop Gap Employers Liablity (monopolistic states) (WC 000303B)
11. Other States Insurance -        except monopolistic
12. Ohio Employers Liability verage (WC 340301B)
13. Unintentional Errors and        iissions (WC 990011)
   Case 4:09-cv-00101-WTM-GRS Document 1-5 Filed 06/09/09 Page 13 of 13
General Electric
Workers Compensation r Employer's Liability
August 1. 2007 to Auzust 1, 2008

14. Defense Base Act           —If Any Basis WC000l 01 A




1. 90-day Notice of Canc       n except for nonpayment and/or a material change to the policy. 111 the event of
   nonpayment, a ten (10)      written notice will be sent to the Corporate Risk Manager
2.   90 day notice of 11011
3.   Amendment of Your Dutis if Injury Occurs (knowledge by risk manager) (WC 99 00 08)
